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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                               PANAMA CITY DIVISION

UNITED STATES OF AMERICA

-vs-                                               Case # 5:11cr23-006

ROWDY DEWAYNE GILBERT
                                                   Defendant’s Attorney:
                                                   Dustin Scott Stephenson
                                                   1156 Jenks Avenue
                                                   Panama City, Florida 32401
___________________________________

                            JUDGMENT IN A CRIMINAL CASE
                      (For Revocation of Probation or Supervised Release)

       A second amended petition dated November 27, 2017 charged the defendant
with 15 violations of conditions of supervised release. The defendant admitted
guilt and was adjudged guilty of all violations.

  VIOLATION NUMBER                NATURE OF VIOLATION           DATE VIOLATION
                                                                  OCCURRED
                  1              Unlawfully using               February 17, 2016
                                 methamphetamine and
                                 amphetamine
                  2              Unlawfully using                April 12, 2016
                                 methamphetamine and
                                 amphetamine
                  3              Failing to complete              May 9, 2016
                                 substance abuse treatment




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                  4          Failing to answer             December 19, 2016
                             truthfully all inquiries of
                             the officer and follow the
                             instructions of the
                             probation officer
                  5          Unlawfully using                August 9, 2017
                             methamphetamine and
                             amphetamine
                  6          Unlawfully using               August 28, 2017
                             methamphetamine and
                             amphetamine
                  7          Unlawfully using              September 6, 2017
                             methamphetamine and
                             amphetamine
                  8          Unlawfully using              September 22, 2017
                             methamphetamine and
                             amphetamine
                  9          Unlawfully using              September 28, 2017
                             methamphetamine and
                             amphetamine
                 10          Failing to follow the         September 28, 2017
                             instructions of the
                             probation officer by
                             failing to attend meetings
                             at Celebrate Recovery
                 11          Unlawfully using               October 4, 2017
                             methamphetamine and
                             amphetamine
                 12          Unlawfully using               October 26, 2017
                             methamphetamine and
                             amphetamine




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                 13          Unlawfully using                 November 1, 2017
                             methamphetamine
                 14          Unlawfully using                November 14, 2017
                             methamphetamine and
                             amphetamine
                 15          Failing to answer                 October 30, 2017
                             truthfully all inquiries of
                             the officer and follow the
                             instructions of the
                             probation officer
                             regarding full-time
                             employment


The supervised release imposed in this case by judgment on April 16, 2015, is
hereby revoked.

The defendant is sentenced as provided in the following pages of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984, including
amendments effective subsequent to 1984, and the Sentencing Guidelines
promulgated by the U.S. Sentencing Commission.


IT IS FURTHER ORDERED that the defendant shall notify the United States
attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs and special assessments imposed
by this judgment are fully paid.

U.S.M. # 21000-017                        Date of Imposition of Sentence:
                                          November 30, 2017


                                          s/Robert L. Hinkle
                                          United States District Judge
                                          December 4, 2017




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                                  IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 6 months.

No term of supervised release imposed.

The defendant is remanded to the custody of the United States Marshal.


                                      RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________to__________________________

at _____________________________________________, with a certified copy

of this judgment.


                                  __________________________________
                                  UNITED STATES MARSHAL


                                  By:__________________________________
                                 Deputy U.S. Marshal




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